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WCS and Kroger Family Suncor Price Comparisons

Dupont: #2D 15 PPM SULFUR MV DIESEL
JAN | FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC

2010
Sunday
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday

 

Dupont: UNL CONV 85 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
2010
Sunday
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday

 

Dupont: UNL CONV 91 10% ETH G
JAN FEB MARAPR MAY JUN JUL AUG SEP OCT NOV DEC
2010
Sunday
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday

 

[}wcs paid a higher price [wcs paid a lower price [ No comparable transaction

EXHIBIT GG
